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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS



Malden Transportation, Inc. et al
       Plaintiff
                                                       CIVIL ACTION NO. 1:16-cv-12538-NMG

Uber Technologies, Inc. et al
       Defendant


                                    REPORT RE: REFERENCE FOR
                                 ALTERNATIVE DISPUTE RESOLUTION

                                             To: Judge Gorton


[ ]     The parties reported this case as settled prior to the mediation

[X]     On 10/25/2018 I held the following ADR proceeding:

        _______          SCREENING CONFERENCE              ______ EARLY NEUTRAL EVALUATION
        ___X___          MEDIATION                         ______ SUMMARY BENCH / JURY TRIAL
        _______          MINI-TRIAL                        ______ SETTLEMENT CONFERENCE


        All parties were represented by counsel.


        The case was:
[ ]     The underlying case has been settled.
[X]     There was progress, but this case should be restored to your trial list. Undersigned
        remains available to reconvene and mediate this case at the request of counsel.
[ ]     Parties do not wish to mediate. This case should be restored to your trial list.
[ ]     Suggested strategy to facilitate settlement:




        10/26/2018                                                 /s/ Marianne B. Bowler, USMJ
        DATE                                                       ADR Provider
